     Case 4:06-cr-00051-CW                       Document 134       Filed 10/02/06                Page 1 of 1




 1                                           IN THE UNITED STATES DISTRICT COURT
 2                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3
 4   UNITED STATES OF AMERICA,                              )         No. CR. 06-0051 CW (WDB)
                                                            )
 5                            Plaintiff,                    )         ORDER MODIFYING DEFENDANT
                                                            )         HIROSHI ISHIKAWA’S CONDITIONS OF
 6   vs.                                                    )         PRETRIAL RELEASE
                                                            )
 7   KEVIN THOMPSON, HIROSHI                                )
     ISHIKAWA, et al.,                                      )
 8                                                          )
                              Defendant.                    )
 9                                                          )
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12
                  Good cause appearing, and the parties having agreed thereto, defendant Hiroshi
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     Ishikawa’s conditions of pretrial release are hereby modified to allow for his travel within the
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     Eastern District of California. All other conditions of release heretofore ordered shall remain in
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     effect.
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18   Dated: October 2, 2006
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                                                                HON. WAYNE D. BRAZIL
23                                                              UNITED STATES MAGISTRATE JUDGE
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     Order Modifying Conditions of Release                      -1-
